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18
                                  NORTHERN DISTRICT OF CALIFORNIA
19
                                       SAN FRANCISCO DIVISION
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     MAXIMILIAN KLEIN, et al.,                       Case No. 3:20-cv-08570-JD
21
                    Plaintiffs,                      Hon. James Donato
22
            v.                                       ADVERTISER PLAINTIFFS’
23                                                   OPPOSITION TO DEFENDANT META
     META PLATFORMS, INC.,                           PLATFORMS, INC.’S MOTION TO
24                                                   EXCLUDE EXPERT TESTIMONY AND
                    Defendant.                       OPINIONS OF MARKUS JAKOBSSON
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 1                                    PRELIMINARY STATEMENT
 2          Advertisers’ oppose Meta’s wholly meritless motion to exclude the testimony of Dr. Markus
 3 Jakobsson, a computer security expert qualified and necessary for the jury to understand critical—
 4 and contested—technical evidence in Advertisers’ antitrust case.
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 8                                                                              Companies like Snap deploy
 9 code within their apps to capture information about in-app behavior—called analytics—and then send
10 this information to proprietary analytics servers so that the app owners can understand what is going

11 on within their products, and can obtain telemetry information that the app owners consider to be
12 particularly valuable and important about their own apps. Jakobsson Rpt. ¶ 45. These analytics—
13 which are coded, designed, communicated, and transported by an application, not its users—
14                                                                                         . In order to protect
15 these competitively valuable secrets, companies like Snap encrypt their analytics traffic and ensure it
16 is being sent to the right server—and not an imposter—using cryptographic authentication based on
17 what are called “digital certificates.” Jakobsson Rpt. ¶¶ 38-40, 44-45.

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     All exhibit numbers refer to exhibits to Advertiser Plaintiffs’ Opposition to Defendant Meta
26 Platforms, Inc.’s Motion for Summary Judgment, which was filed today.
     2
27   Oddly, Meta did not actually include Dr. Jakobsson’s complete reports—despite attempting to
   include them in their entirety—in its Daubert motion. Exs. 6 and 7 are the complete reports, including
28 the material Meta omitted.

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 4          This kind of cyberattack on a third-party’s secure communications is called a “man-in-the-
 5 middle” attack—
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20          The facts of all the above—which are an important part of Advertisers’ merits case against
21 Meta for monopolization of the Social Advertising Market—are highly technical. They involve
22 mobile device and server-side security issues, mobile analytics, digital certificates, encryption, and
23 even smartphone operating system exploits. And the evidence of record is just as complex, comprising
24 technical analyses (e.g., Exs. 14, 15, 17),
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26                                                                                                         . The
27 Court need not take Advertisers’ word on this point: Meta’s own executives repeatedly described the
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 1 program as beyond even their own technical understanding in documents and at deposition in this
 2 case. See, e.g., Ex. 2215; Olivan Dep. at 201:1-4, 201:24-25; Zuckerberg Dep. at 111:8-11, 115:4-5.
 3          Moreover, Meta has disputed
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10                                                                     . But this evidence is, alas, technical,

11 so to explain its actual meaning (rather than Meta’s mischaracterization of it) to the jury, Advertisers
12 retained one of the world’s foremost computer security experts, Dr. Markus Jakobsson, to help explain
13
14          Dr. Markus Jakobsson, a Ph.D. computer scientist with approximately thirty years of
15 experience, literally wrote the book on man-in-the-middle attacks, Jakobsson Rpt. ¶ 11—one of Dr.
16 Jakobsson’s six textbooks, fifty-plus articles, and 245 total publications on computer security (cited
17 at least 20,136 times, according to Google Scholar), id. ¶¶ 22-25, Jakobsson CV at 3-20. Besides his

18 publishing pursuits, Dr. Jakobsson has long served in industry roles involving computer security,
19 including as Principal Scientist at Xerox PARC, as Principal Scientist of Consumer Security at
20 PayPal, as Senior Director at Qualcomm, and as Chief Scientist at ByteDance from 2020-2021, where
21 he guided the security research for both ByteDance and TikTok. Id. ¶¶ 12, 16.
22          Dr. Jakobsson submitted two reports in this case, Exs. 6 & 7
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 3          Dr. Jakobsson will unquestionably help the jury and the Court to understand what Meta was
 4 actually doing to its competitors—and to competition—
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13          Critically, without Dr. Jakobsson’s testimony, the trial will have no technical counterbalance
14 to Meta’s wrong-on-its-face mischaracterization of the details and absolute rarity
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20                                               . This is, presumably why Meta is moving to exclude Dr.
21 Jakobsson, and is willing to stoop to wholesale misinformation about what is actually in his reports
22 to do it. But none of Meta’s arguments actually meet the Daubert standard.
23          Rather, Meta creates a fanciful, fictional version of Dr. Jakobsson’s reports—one that ignores
24 the vast majority of the 299 paragraphs in Dr. Jakobsson’s two reports—and tells the Court that Dr.
25 Jakobsson’s opinions are junk science because some parts of his reports are directly in line with
26 Advertisers’ substantive positions, as set forth in contention interrogatories. Even if this overlap were
27 the entirety of Dr. Jakobsson’s reports (it is not, as discussed above, even close to the case), it is
28 entirely unobjectionable that an expert’s opinions match the positions of litigants and counsel—and

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 1 indeed, the law directly embraces such concinnity. (Notably, in another motion filed the same day as
 2 this one, Meta argues that an expert’s opinions should be excluded because they purportedly don’t
 3 identically match contention interrogatories. See Meta SJ Mot. at 13-14.) Meta’s other “Daubert”
 4 arguments are not really Daubert issues at all, but mainly express cross-examination issues or
 5 objections for trial on keyhole aspects of wording or phraseology.
 6          At bottom, Dr. Jakobsson’s opinions are clearly not “junk science,” and he is clearly a
 7 useful—indeed, necessary—voice for Advertisers’ trial. Meta’s motion to exclude should be denied.
 8                                            ARGUMENT
 9          Dr. Jakobsson’s testimony will be useful to the jury and the Court
10            is technically complex, and implicates evidence and witness testimony that is beyond the

11 technical and industry knowledge of the average layperson—and Meta has sought to leverage this
12 complexity in its defenses and arguments in this case.
13          The essential conduct about which Dr. Jakobsson will testify
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            Again, the words and concepts in this key exhibit are avowedly technical. As Dr. Jakobsson
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     will explain, walking the jury and the Court through evidence far more complex than the above—
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14          Although Meta has taken the position in its Daubert motion that the technical details of its
15         program need not be understood by the jury and the Court to adjudicate this case, Meta’s actual
16 defenses and arguments with respect              give the lie to this position. For example
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18 but Dr. Jakobsson—who is both a computer security expert and a longtime industry participant,
19 including holding positions at PayPal, Qualcomm, and ByteDance in the past decad
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25          Moreover, without a technical expert like Dr. Jakobsson to walk the jury and the Court through
26 the details of what it means to “man-in-the-middle” traffic to an “analytics server,” it may not be
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 4          For example, Dr. Jakobsson will
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22          Meta’s Daubert motion does not seriously contest all of the above. Rather, it cuts and pastes
23 a handful of passages from Dr. Jakobsson’s 126 pages of expert disclosures and asserts that because
24 they are similar (in some cases, near identical) to Advertisers’ interrogatory disclosures, Dr.
25 Jakobsson cannot testify. Mot. at 3-7. As an initial matter, this position is squarely opposite to Meta’s
26 co-pending position in a different motion filed the same day as this one in which Meta wants to
27 exclude a different expert’s opinions for not being worded identically to earlier contention
28 interrogatory responses. See Meta SJ Mot. at 13-14. In any event, Meta’s position on expert

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 1 disclosures being “too similar” to previous disclosures, including contentions, is simply wrong. See,
 2 e.g., Optronic Techs, Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 477 (9th Cir. 2021) (“The court
 3 properly admitted Dr. Sasian’s report because the parts written by counsel consisted of background
 4 information qualified by statements such as ‘I am informed that . . .’ Dr. Sasian also testified that he
 5 signed his report after reviewing and editing it and determining that it accurately reflected his analysis
 6 and opinion with regard to the case.”); NetFuel, Inc. v. Cisco Sys., Inc., 2020 WL 1274985, at *3-4
 7 (N.D. Cal. Mar. 17, 2020) (“Plaintiff’s argument, however, is flawed. It ignores the reality that Federal
 8 Rule of Civil Procedure 26 does not require experts to unilaterally write their reports. Indeed,
 9 attorneys may be involved in the preparation of an expert report. This involvement can include
10 counsel’s paraphrasing of the expert’s qualifications, counsel’s providing ‘teamwork,’

11 ‘collaboration,’ or editorial assistance on the report, counsel’s composing of initial drafts of reports
12 based upon communications with the expert and allowing the expert to substantively revise the report
13 to reflect the expert’s opinions, or counsel’s drafting of the report with the expert’s substantive
14 assistance.” (cleaned up)). Dr. Jakobsson consistently testified at deposition that he wrote both of his
15 reports, and that they accurately reflect his opinions. See Ex. 104 (Jakobsson Dep.) at 42:15-23. (“Q.
16 And did you actually write your reports? A. I did. Q. And you understood what you were putting in
17 there and you stand by the opinions in your reports. Right? A. Yes. I have one small typo that I need

18 to correct, but apart from that, yes.”).
19          Meta also argues that Dr. Jakobsson “speculates” about irrelevant issues that are not
20 “technical.” Mot. at 7-8. This is not a serious basis to exclude Dr. Jakobsson’s testimony under
21 Daubert. An example of one of these paragraphs identified by Meta is below:
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                                 The above is a description of evidence that Dr. Jakobsson reviewed in
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     connection with preparing his opinions—and comes in the context of a technical evaluation of an
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 1 engineer, at that. The fact that Dr. Jakobsson discusses evidence in his reports does not render them
 2 “junk science”—quite the opposite—and it is not clear why Meta believes he should be excluded
 3 under Daubert as a result. See Fed. R. Civ. P. 26(a)(2)(B)(ii) (requiring expert report to contain “the
 4 facts or data considered by the witness in forming” their opinions). But Meta’s motion is replete with
 5 this kind of argument. Meta’s complaints of this nature are the stuff of cross-examination (if at all).
 6 They do not present a credible basis to exclude an important expert witness under the guise of
 7 Daubert.
 8          Finally, Meta argues that Dr. Jakobsson’s testimony should be excluded because he allegedly
 9 offers legal conclusions. Mot. at 9-11. The problem with this argument is evident from Dr.
10 Jakobsson’s actual reports—he offers no legal opinions, and says as much throughout. What Meta

11 really seems to be concerned about is the fact that Dr. Jakobsson—a computer security expert with
12 26 years’ experience who has written entire books about cybercrime and serves on an international
13 consortium to combat it, Jakobsson Rpt. ¶¶ 11, 18 & CV—calls Meta’s
14                                                                                                . The problem
15 with Meta objecting to these characterizations is that they are true, and Dr. Jakobsson—an undeniable
16 cybercrime expert—is eminently qualified to make them. Meta’s argument that such descriptions of
17 its conduct are “unfairly prejudicial” is incorrect, because the descriptions are undeniably fair. To the

18 extent Meta wants to assert otherwise, it can certainly cross-examine Dr. Jakobsson about his
19 experience with cybercrime and wiretapping, and about why he believes
20                                                                                                      .
21                                             CONCLUSION
22          Meta’s motion to exclude Dr. Markus Jakobsson should be denied.
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 1                                        FILER ATTESTATION
 2          I am the ECF user who is filing this document. Pursuant to Civil L.R. 5-1(h)(3), I hereby
 3 attest that each of the other signatories have concurred in the filing of the document.
 4
 5 Dated: January 29, 2025                        By: /s/ Brian J. Dunne
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